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                                                                     Settlement/Hearing: May 23rd, 2018
                                                                     Time: 10:00 A.M.            .

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:                                                               Chapter 13
                                                                     Case No. 18-22045 RDD
LISA M. CHANG,
                                                                     NOTICE OF SETTLEMENT
                                         Debtor(s)
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                    PLEASE TAKE NOTICE, that an Order, a true copy of which is annexed

hereto, will be presented for signature to the Hon. Robert D. Drain, United States Bankruptcy

Judge, on the 23rd day of May, 2018 at 10:00 A.M., at the United States Bankruptcy Court, 300

Quarropas Street, White Plains, New York.

                    Hearings on Objections, if any, to be conducted same place, date and time.

Written objections or counterorders must be submitted to chambers by no later than close of

business three (3) days prior to settlement.

Dated: White Plains, New York
       April 5th, 2018
                                                                      /s/ Krista M. Preuss
                                                                     Krista M. Preuss (KMP7299)
                                                                     Chapter 13 Trustee
                                                                     399 Knollwood Road
                                                                     White Plains, New York 10603
                                                                     Chapter 13 Tel. No. 914-328-6333
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TO:   United States Trustee
      201 Varick Street # 1006
      New York, New York 10014

      Lisa M. Chang
      21 Francis Terrace # 1-B
      Yomkers, New York 10704

      Asher B. White, Esq.
      1404 Coney Island Avenue
      Brooklyn, New York 11230

      JP Morgan Chase Bank, NA
      P.O. Box 29505 AZ1-1191
      Phoenix, Arizona 85038
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:
                                                                   Chapter 13
                                                                   Case No. 18-22045 RDD
LISA M. CHANG,
                                                    Debtor(s)
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                              ORDER DISMISSING CHAPTER 13 CASE

          The trustee having moved, on due notice, for an order dismissing this chapter 13 case,

and, upon the motion and the record of the May 23, 2018 hearing thereon, the Court

having found that the debtor has failed to comply with 11 U.S.C. §1307(c)(1) and

11 U.S.C.§521(i) and (e)(2)(A)(i) having created unreasonable delay that is prejudicial to

creditors, in that the debtor failed to be examined at the scheduled §341(a) meeting of creditors;

failed to provide the required documentation, in part, payment advices and evidence of other

payments received within 60 days, and seven days before to the §341(a) meeting of creditors,

Federal and New York State tax returns for several years prior to filing, and the Court also

having found that that the debtor’s proposed chapter 13 plan is not feasible and that the debtor is

unable to confirm a plan, and further, pursuant to §109(e) for failure to qualify under chapter 13;

and good cause appearing,

          IT IS ORDERED THAT:

          This chapter 13 case is hereby dismissed. The chapter 13 trustee shall take all actions

required by the dismissal of this case.

Dated: White Plains, New York
       May           , 2018
                                                             ______________________________________
                                                             UNITED STATES BANKRUPTCY JUDGE
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:
                                                                   Chapter 13
                                                                   Case No. 18-22045 RDD
LISA M. CHANG,
                                                                   TRUSTEE’S AFFIDAVIT
                                                    Debtor(s)
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
STATE OF NEW YORK                             )
COUNTY OF WESTCHESTER ) ss.:

                    Krista M. Preuss, being duly sworn, deposes and says:

                    1.        She is the standing Chapter 13 Trustee.

                    2.        The debtor filed a Chapter 13 proceeding on January 10th, 2018.

                    3.        The debtor failed to comply with the provisions of 11 U.S.C. §1307(c)(1).

                    4.        The debtor is in violation of 11 U.S.C.§521(i) of the Bankruptcy Code which

requires the debtor to file in part, payment advices and evidence of other payments received within

60 days.

                    5.        The debtor is in violation of §521(e)(2)(A)(i) of the Bankruptcy Code

which requires the debtor to provide seven (7) days prior to the §341(a) meeting of creditors

,copies of federal and state tax returns for the most recent years preceding the commencement of

the case.

                    6.        Upon information and belief, the plan has failed to be served upon creditors.

                    7.        The debtor failed to be examined at a §341(a) meeting of creditors..

                    8.        The debtor fails to qualify under Chapter 13 pursuant to §109(e) on the

ground that the debtor's unsecured debt listed at $1,504,365.00 far exceeds the $394,725.00

limitation.
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               9.      At the aforesaid confirmation hearing held on March 28th, 2018, the debtor’s

case demonstrated infeasibility and an inability to confirm.

               10.     The unreasonable delay created by the debtor is prejudicial to creditors.

               WHEREFORE, the trustee respectfully requests that the annexed order dismissing

this case be signed.

                                                                     /s/ Krista M. Preuss
                                                                     Krista M. Preuss
Sworn to before me this
5th day of April, 2018
  /s/ Jody L. Kava

Jody L. Kava
Notary Public, State of New York
No. 02KA4836806
Qualified in Westchester County
Term Expires: 10/31/21
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:                                                                  Chapter 13
                                                                        Case No. 18-22045 RDD
LISA M. CHANG,


                                                    Debtor(s)
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


                                        CERTIFICATE OF SERVICE

                    Lois Rosemarie Esposito, duly certifies:

                    I am not a party to the action herein, I am over the age of 18 years and reside in the

County of Westchester, State of New York.

                    On April 5th, 2018, I served a true copy of the within document, to the herein listed

parties at the address(es) designated for that purpose, by mailing same in a properly sealed envelope

with postage prepaid thereon, in an official depository of the United States Postal Service within the

State of New York to the following:

TO:       United States Trustee
          201 Varick Street # 1006
          New York, New York 10014

          Lisa M. Chang
          21 Francis Terrace # 1-B
          Yomkers, New York 10704

          Asher B. White, Esq.
          1404 Coney Island Avenue
          Brooklyn, New York 11230
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      JP Morgan Chase Bank, NA
      P.O. Box 29505 AZ1-1191
      Phoenix, Arizona 85038


                                                     /s/ Lois Rosemarie Esposito
                                                       Lois Rosemarie Esposito
